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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION                                                          ENTERED
                                                                                                                12/20/2019
 _________________________________________
                                           )
 In re:                                    )                             Chapter 11
                                           )
 SOUTHERN FOODS GROUPS, LLC, et al.,       )                             Case No. 19-36313 (DRJ)
                                           )
             Debtors.1                     )                             Jointly Administered
                                           )
 _________________________________________ )

                  ORDER APPROVING PROCEDURES FOR (I) THE SALE
                  OF DE MINIMIS ASSETS FREE AND CLEAR OF LIENS,
              CLAIMS, INTERESTS, AND ENCUMBRANCES AND (II) THE
             ABANDONMENT OF CERTAIN OF THE DEBTORS’ PROPERTY
                                          (Docket No. 341)
          Upon the motion (the “Motion”)2 of Southern Foods Group, LLC, Dean Foods Company,

and certain of their affiliates (collectively, the “Debtors”) for entry of an order, pursuant to

sections 105(a), 363, and 554 of title 11 of the United States Code (the “Bankruptcy Code”) and

Bankruptcy Rules 6004 and 6007, authorizing the Debtors to sell and/or abandon De Minimis




          1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods
Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty, LLC
(3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information Systems,
LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean Foods
North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean Intellectual
Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC (7782); Dean
Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896); Dean West II, LLC
(9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners, LLC (3889); DFC
Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin Holdings, Inc. (8114);
Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s Manufacturing and Retail,
LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream Company, LLC
(0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714); Shenandoah’s Pride,
LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh Dairies, Inc. (6774);
Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan, LLC (7200). The debtors’ mailing
address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
          2
              Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Motion.
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Assets 3 and to pay those reasonable and necessary fees and expenses (if any) incurred in

connection with the sale or abandonment of De Minimis Assets, as more fully described in the

Motion; and the Court having jurisdiction to consider the matters raised in the Motion pursuant to

28 U.S.C. § 1334 and the Amended Standing Order of Reference from the United States District

Court for the Southern District of Texas, dated May 24, 2012; and the Court having found that this

is a core proceeding pursuant to 28 U.S.C. § 157; and the Court having found that it may enter a

final order consistent with Article III of the United States Constitution; and the Court having found

that venue of this proceeding and the Motion in this District is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and due, proper, and adequate notice of the Motion and opportunity for

objection to and a hearing on the Motion having been given to the parties listed therein, and it

appearing that no other or further notice need be provided; and the Court having reviewed and

considered the Motion; and the Court having determined that the legal and factual bases set forth

in the Motion and at the hearing (if any) establish just cause for the relief granted herein; and the

Court having found that the relief requested in the Motion being in the best interests of the Debtors,

their creditors, their estates, and all other parties in interest; and upon all of the proceedings had

before the Court; and after due deliberation and sufficient cause appearing therefor,

IT IS HEREBY ORDERED THAT:

      1.          The Procedures are hereby approved and may be implemented by the Debtors, in

their sole discretion, in the Chapter 11 Cases.




          3
            “De Minimis Assets” shall herein refer to (i) certain obsolete, surplus, burdensome, or otherwise
expendable assets having a Sale Price (as defined below) of $6,000,000 or less, and (ii) any de minimis assets where
a sale cannot be consummated at a price greater than the costs of such sale (taking into account costs of, among other
things, interim storage, shipping, and marketing). For the avoidance of doubt, to the extent the Procedures as set forth
in this Order differ from those set forth in the Motion, the terms of this Order shall govern.



                                                           2
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       2.         For purposes of the Procedures, the net benefit estimated by the Debtors (in

consultation with the Committee, the DIP Counsel (as defined below), and the Ad Hoc Counsel

(as defined below)) to be realized by the Debtors’ estates shall constitute the “Sale Price.”4 The

net benefit is the amount of cash consideration or fair market value of non-cash consideration

estimated to be received by the Debtors, plus the amount of any liabilities to be assumed by the

purchaser (to the extent quantifiable or reasonably estimable, as determined by the Debtors (in

consultation with the Committee, the DIP Counsel, and the Ad Hoc Counsel)), less expenses to be

incurred in connection with the sale, offsets, or other deductions (to the extent quantifiable or

reasonably estimable, as determined by the Debtors (in consultation with the Committee, the DIP

Counsel, and the Ad Hoc Counsel)). The Sale Price shall be determined without consideration as

to whether the property for sale is free and clear of all liens, claims, interests, and encumbrances.

       3.         The Debtors may consummate the sale or abandonment of a De Minimis Asset

under the Procedures when the Debtors determine (in consultation with the Committee, the DIP

Counsel, and the Ad Hoc Counsel) that such sale or abandonment is in the best interests of the

Debtors’ estates; provided, that notwithstanding anything contained in this Order or the Procedures

to the contrary, to the extent practicable, the Debtors shall provide the Committee, the DIP

Counsel, and the Ad Hoc Counsel with no less than seven days’ advance notice of any potential

sale to be consummated pursuant to the Procedures. For the avoidance of doubt, the Procedures

apply solely to asset sales that are not sales conducted in the ordinary course of the Debtors’

businesses.




            4
           Solely for the purposes of the Procedures and the calculation of the Sale Price, entry into a series of related
sales within any given 30-day period between any of the Debtors, on the one hand, and any given counterparty and/or
such counterparty’s affiliate(s), on the other hand, shall be deemed to be entry into a single sale.



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     4.          Notwithstanding anything to the contrary herein or in the Motion, any De Minimis

Asset sold or abandoned pursuant to the Procedures cannot be a De Minimis Asset that is currently

in use by the Debtors in the operation of their businesses; provided, however, that a De Minimis

Asset that is currently in use by the Debtors in the operation of their businesses can be sold pursuant

to the Procedures if it is being sold with the intent of applying all or substantially all of the sale

proceeds to replace or upgrade such De Minimis Asset.

     5.          If the Sale Price for the sale of a De Minimis Asset is less than or equal to $500,000,

the following Procedures shall be followed:

                a.     The Debtors shall give written notice to the Notice Parties (defined below),
       substantially in the form attached to the Motion (the “Sale Notice”), at least seven calendar
       days before closing, specifying (i) the De Minimis Assets to be sold, (ii) the Debtor that
       directly owns the De Minimis Assets, (iii) the identity of the purchaser, (iv) the identity of
       parties known to the Debtors as holding Liens on the De Minimis Assets, (v) any
       commissions to be paid to third parties (such as brokers), and (vi) the proposed purchase
       price. The Debtors shall serve the Sale Notice only on the following parties: (i) the U.S.
       Trustee; (ii) White & Case LLP, as counsel to Coöperatieve Rabobank U.A., New York
       Branch, the administrative agent under the Debtors’ prepetition receivables purchase
       agreement, the administrative agent under the Debtors’ prepetition secured revolving credit
       facility, and the administrative agent under the Debtors’ proposed post-petition financing
       facility (the “DIP Counsel”); (iii) indenture trustee under the Debtors’ prepetition
       unsecured bond indenture; (iv) Mayer Brown LLP, as counsel to PNC Bank, National
       Association, the co-agent under Debtors’ prepetition receivables purchase agreement; (v)
       Paul, Weiss, Rifkind, Wharton & Garrison LLP, as counsel to an ad hoc group of
       prepetition unsecured noteholders (the “Ad Hoc Counsel”); (vi) Akin Gump Strauss Hauer
       & Feld, as counsel to the Committee; (vii) United States’ Attorney Office, and Department
       of Justice, ENRD on behalf of US Environmental Protection Agency; and (viii) any person
       or entity with a particularized interest in the De Minimis Assets to be sold, including any
       known creditor asserting a lien, claim, interest, or encumbrance on such De Minimis Assets
       (collectively, the “Notice Parties”).

                 b.      If any of the Notice Parties, formally or informally, objects to the sale of
          such De Minimis Asset (a “Notice Party Objection”), the De Minimis Asset may not be
          sold without resolution of the Notice Party Objection or further order of the Court.

     6.          If the Sale Price for the sale of a De Minimis Asset is greater than $500,000 and

less than or equal to $6,000,000, the following Procedures shall be followed:




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              a.      The Debtors shall file with Court a Sale Notice and serve such Sale Notice
       on the Notice Parties, at least ten calendar days before closing.

                  b.      Parties in interest will have ten calendar days after the service of a Sale
          Notice (the “Sale Objection Deadline”) to object to a proposed sale of De Minimis Assets.
          After the expiration of the Sale Objection Deadline, the Debtors may immediately sell the
          De Minimis Assets listed in the Sale Notice and take any actions and execute any
          agreements or other documentation that are necessary or desirable to close the transaction
          and obtain the sale proceeds. Any such transactions shall be deemed, without the need for
          any action by any party, final and fully authorized by the Court and may be deemed, as
          provided in the documentation governing the application transaction, final and free and
          clear of all Liens with such Liens attaching only to the proceeds of such transactions with
          the same validity, extent, and priority as immediately prior to the transaction. Further,
          good faith purchasers of assets pursuant to these Procedures shall be entitled to the
          protections of section 363(m) of the Bankruptcy Code.

               c.     If any party in interest wishes to object to a proposed sale of De Minimis
       Assets, such party must (i) file a written objection (each, an “Objection”) with the Court
       on or before the Sale Objection Deadline and (ii) serve the Objection on the Debtors and
       each of the other Notice Parties so that it is actually received by such parties on or before
       the Sale Objection Deadline. Any such Objection shall identify, with specificity, the basis
       for such Objection. If an Objection is timely received and filed and cannot be resolved by
       the Debtors and the objecting parties, the De Minimis Asset that is the subject of the
       Objection will not be sold except upon order of the Court; provided, however, that any De
       Minimis Asset set forth in the Sale Notice that is not the subject of an Objection may be
       immediately sold in accordance with paragraph (b).

              d.       If the terms of a proposed sale or transfer are materially amended after
       transmittal of the Sale Notice but prior to the Sale Objection Deadline, the Debtors will
       send a revised Sale Notice to the Notice Parties. The Sale Objection Deadline will be
       extended such that the Notice Parties will have ten calendar days after the service of such
       revised Sale Notice to object to such sale in accordance with the Procedures.

     7.          If the Sale Price for the sale of a De Minimis Asset is greater than $6,000,000, the

Debtors shall file a motion with the Court requesting approval of the sale pursuant to section 363

of the Bankruptcy Code, among other applicable provisions.

     8.          The Debtors shall be permitted to compensate any broker or other party engaged

by the Debtors in connection with any abandonment, sale, or attempted sale of De Minimis Assets;

provided, however, that the Debtors shall include in the Sale Notice details relating to the

anticipated broker or third party fees, and if an Objection to the payment of any broker’s or other



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party’s fees is timely received and filed by the Sale Objection Deadline or Abandonment Objection

Deadline, then the portion of such broker’s fees to which the Objection is directed shall not be paid

until such Objection is consensually resolved or until the Court approves such payment.

      9.          The Procedures satisfy section 363(f) of the Bankruptcy Code and any De Minimis

Asset sold pursuant to the Procedures shall be free and clear of all liens, claims, interests, and

encumbrances.

     10.          Any holder of a lien, claim, interest, or encumbrance on any De Minimis Assets to

be sold, with a Sale Price greater than $500,000 and less than or equal to $6,000,000, will receive

a Sale Notice and will have an opportunity to object to any sale in which it claims an interest. If a

holder of a lien, claim, interest, or encumbrance receives the Sale Notice and does not object within

the prescribed time period, then such holder will be deemed to have consented to the proposed sale

and the property may then be sold free and clear of the holder’s interests pursuant to section 363(f)

of the Bankruptcy Code, with any such liens, claims, interests, or encumbrances to be, at the

Debtors’ sole discretion, either (a) satisfied from the proceeds of the sale or (b) transferred and

attached to the net sale proceeds in the same order of priority that such liens, claims, interests, or

encumbrances had on the De Minimis Assets sold.

     11.          Those who purchase De Minimis Assets in accordance with the Procedures shall

be afforded the protections under section 363(m) of the Bankruptcy Code.

     12.          If the estimated gross proceeds5 of the De Minimis Asset to be abandoned are less

than or equal to $500,000, the following procedures shall be followed:

                a.       The Debtors shall give written notice of the proposed abandonment
         substantially in the form attached to the Motion (the “Abandonment Notice”) to the Notice

           5
         Solely for the purposes of the Procedures and the estimation of gross proceeds, entry into a series of related
abandonments within any given 30-day period to any given counterparty and/or such counterparty’s affiliate(s) shall
be deemed a single abandonment.



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        Parties, at least seven calendar days before such De Minimis Assets are abandoned,
        specifying (i) a description in reasonable detail of the property to be abandoned, (ii) the
        Debtor that owns the De Minimis Asset, (iii) the reason for the abandonment, (iv) the
        parties known to the Debtors as having an interest in the property to be abandoned, and
        (v) the entity to which the personal property is to be abandoned, if any.

               b.      If any of the Notice Parties, formally or informally, objects to the
        abandonment of the De Minimis Asset, the De Minimis Asset may not be abandoned
        without resolution of the Notice Party Objection or order from the Court.

     13.         If the estimated gross proceeds of the De Minimis Asset to be abandoned are greater

than 500,000 and less than or equal to $2,500,000, the following Procedures shall be followed:

              a.    The Debtors shall file with Court an Abandonment Notice and serve such
        Abandonment Notice on the Notice Parties, at least ten calendar days before closing.

               b.     Parties in interest will have ten calendar days after the service of an
        Abandonment Notice (the “Abandonment Objection Deadline”) to object to a proposed
        abandonment of De Minimis Assets. After the expiration of the Abandonment Objection
        Deadline, the Debtors may immediately abandon the De Minimis Assets listed in the
        Abandonment Notice and take any actions and execute any agreements or other
        documentation that are necessary or desirable to abandon the subject property.

                c.     If any party in interest wishes to object to a proposed abandonment of De
        Minimis Assets, such party must (i) file an Objection with the Court on or before the
        Abandonment Objection Deadline and (ii) serve the Objection on the Debtors and each of
        the other Notice Parties so that it is actually received by such parties on or before the
        Abandonment Objection Deadline. Any such Objection shall identify, with specificity, the
        basis for such Objection. If an Objection is timely received and filed and cannot be
        resolved by the Debtors and the objecting party, the De Minimis Asset that is the subject
        of the Objection will not be abandoned except upon order of the Court; provided, however,
        that any De Minimis Asset set forth in the applicable Abandonment Notice that is not the
        subject of an Objection may immediately be abandoned in accordance with paragraph (b).

     14.         If the estimated gross proceeds of the De Minimis Asset to be abandoned are greater

than $2,500,000, the Debtors shall file a motion with the Court requesting approval of the

abandonment pursuant to section 554 of the Bankruptcy Code, among other provisions.

     15.         The Debtors shall not abandon De Minimis Assets pursuant to the Procedures

where the abandonment would pose an environmental hazard or where a serious risk to the public

is likely to result.



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    16.        For each calendar quarter, beginning with the calendar quarter ending on March 31,

2020, the Debtors shall file with the Court and serve the Notice Parties and parties in interest who

have requested a copy, within 30 days after such calendar quarter, a written report detailing (a) the

identity and purchase price of each De Minimis Asset sold during such calendar quarter and the

identity of the parties to such sales, and (b) the identity of each De Minimis Asset abandoned

during such calendar quarter and the identity of the parties to such abandonments (as applicable);

provided, however, that the foregoing reporting obligations shall cease upon the confirmation of a

chapter 11 plan in the Chapter 11 Cases.

    17.        Notwithstanding anything to the contrary in this Order, in the event of any

inconsistency between the terms of this Order and the terms of (a) any order of this Court

approving the debtor-in-possession financing facility and use of cash collateral (the “DIP Order”),

including, without limitation, any budget in connection therewith, or (b) any order approving the

Debtors’ continued performance under their securitization facility (the “Securitization Order”),

the terms of the DIP Order or the Securitization Order, as appropriate, shall govern. Furthermore,

any sales consummated pursuant to this Order shall be subject to (and in compliance with) the

applicable provisions of the DIP Credit Agreement (as defined in the DIP Order), including Section

2.11 (Prepayment of Loans).

    18.        Notwithstanding anything to the contrary contained herein, (a) the Procedures shall

not be used to sell the non-residential real property lease between O ICE, LLC and Friendly’s

Manufacturing and Retail, LLC, dated August 30, 2007 (as amended), and (b) none of the Debtors’

insurance policies and/or any related agreements shall be sold, assigned, or otherwise transferred

pursuant to any transaction under the Procedures except in compliance with the terms of such

insurance policies, any related agreements, and/or applicable non-bankruptcy law.




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    19.        Nothing herein shall impair the Debtors’ ability to conduct their businesses in the

ordinary course of business without seeking approval of the Court.

    20.        The Procedures satisfy Bankruptcy Rules 2002 and 6007.

    21.        Any Bankruptcy Rule (including, but not limited to, Bankruptcy Rule 6004(h)) or

Local Rule that might otherwise delay the effectiveness of this Order is hereby waived, and the

terms and conditions of this Order shall be effective and enforceable immediately upon its entry.

    22.        The Debtors are authorized to take all such actions as are necessary or appropriate

to implement the terms of this Order.

    23.        The Court shall retain exclusive jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation, and enforcement of this Order.


Dated: ___________________, 2019
         December
 Signed:Houston,    20, 2019.
                 Texas

                                               ____________________________________
                                               DAVID R. JONES
                                               UNITED STATES BANKRUPTCY JUDGE
                                          UNITED STATES BANKRUPTCY JUDGE




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                           Notice of Sale
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 _________________________________________
                                           )
 In re:                                    )                             Chapter 11
                                           )
 SOUTHERN FOODS GROUPS, LLC, et al.,       )                             Case No. 19-36313 (DRJ)
                                           )
                     1
             Debtors.                      )                             Jointly Administered
                                           )
 _________________________________________ )

 NOTICE OF SALE OF CERTAIN OF THE DEBTORS’ DE MINIMIS ASSETS
FREE AND CLEAR OF LIENS, CLAIMS, INTERESTS, AND ENCUMBRANCES
      PURSUANT TO SECTION 363 OF THE BANKRUPTCY CODE

                PLEASE TAKE NOTICE that, on December [•], 2019, the United States
Bankruptcy Court for the Southern District of Texas (the “Court”) entered the attached
order (the “Order”) granting approval of certain procedures (the “Procedures”) for (i) the
sale of certain de minimis assets (“De Minimis Assets”) free and clear of all liens, claims,
interests, and encumbrances and (ii) the abandonment of certain De Minimis Assets [D.I.
[•]] in the chapter 11 cases of Southern Foods Group, LLC, Dean Foods Company, and
certain of their affiliates that are debtors and debtors in possession in the chapter 11 cases
(collectively, the “Debtors”).

               PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the
Order, unless a written objection (“Objection”) is filed with the Court and served in the
manner provided for in the Order by ______________ _____, 2020, the De Minimis Assets

          1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of
their respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean
Foods Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade
Equity Realty, LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144);
Dairy Information Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192);
Dean East, LLC (8751); Dean Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504);
Dean Holding Company (8390); Dean Intellectual Property Services II, Inc. (3512); Dean International
Holding Company (9785); Dean Management, LLC (7782); Dean Puerto Rico Holdings, LLC (6832); Dean
Services, LLC (2168); Dean Transportation, Inc. (8896); Dean West II, LLC (9190); Dean West, LLC (8753);
DFC Aviation Services, LLC (1600); DFC Energy Partners, LLC (3889); DFC Ventures, LLC (4213); DGI
Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin Holdings, Inc. (8114); Fresh Dairy Delivery,
LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s Manufacturing and Retail, LLC (9828);
Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream Company, LLC
(0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714); Shenandoah’s
Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh Dairies,
Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan, LLC (7200). The
debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
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listed on Appendix A attached hereto will be sold free and clear of all liens, claims,
encumbrances, or interests pursuant to, among other provisions, section 363 of title 11 of
the United States Code, in accordance with the Order.

                 PLEASE TAKE FURTHER NOTICE that, if an Objection is timely filed
and served in accordance with the Order, the Debtors and the objecting party will use good
faith efforts to resolve the Objection. If the Debtors and the objecting party are unable to
consensually resolve the Objection, the Debtors shall not proceed with the sale of the De
Minimis Assets that are the subject of the Objection pursuant to the Procedures, but may
seek Court approval of the proposed transaction.




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Dated:   [        ], 2019
         Houston, Texas
                                 Respectfully submitted,
                                 NORTON ROSE FULBRIGHT US LLP

                                 /s/
                                  William R. Greendyke (SBT 08390450)
                                  Jason L. Boland (SBT 24040542)
                                  Robert B. Bruner (SBT 24062637)
                                  Julie Goodrich Harrison (SBT 24092434)
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                                  julie.harrison@nortonrosefulbright.com

                                 -and-

                                 DAVIS POLK & WARDWELL LLP

                                 Brian M. Resnick (admitted pro hac vice)
                                 Steven Z. Szanzer (admitted pro hac vice)
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                                 daniel.meyer@davispolk.com
                                 Proposed Counsel to the Debtors and Debtors in
                                 Possession




                                  3
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                                                  APPENDIX A

                                          Proposed Purchase     Net Benefits                           Location of Sale (if
                       Name and Address       Price and          Calculation      Location of Assets     different than
Assets(s) to be Sold     of Purchaser      Commissions to      Constituting the      to be Sold        location of Assets)
                                            Third Parties        Sale Price
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                       Notice of Abandonment
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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 _________________________________________
                                           )
 In re:                                    )                             Chapter 11
                                           )
 SOUTHERN FOODS GROUPS, LLC, et al.,       )                             Case No. 19-36313 (DRJ)
                                           )
                     1
             Debtors.                      )                             Jointly Administered
                                           )
 _________________________________________ )

                  NOTICE OF ABANDONMENT OF CERTAIN OF
                THE DEBTORS’ DE MINIMIS ASSETS PURSUANT TO
                  SECTION 554(a) OF THE BANKRUPTCY CODE

                PLEASE TAKE NOTICE that, on December [•], 2019, the United States
Bankruptcy Court for the Southern District of Texas (the “Court”) entered the attached
order (the “Order”) granting approval of certain procedures (the “Procedures”) for (i) the
sale of certain de minimis assets (“De Minimis Assets”) free and clear of all liens, claims,
interests, and encumbrances and (ii) the abandonment of certain De Minimis Assets [D.I.
[•]] in the chapter 11 cases of Southern Foods Group, LLC, Dean Foods Company, and
certain of their affiliates that are debtors and debtors in possession in the chapter 11 cases
(collectively, the “Debtors”).

               PLEASE TAKE FURTHER NOTICE that, pursuant to the terms of the
Order, unless a written objection (“Objection”) is filed with the Court and served in the
manner required by the Order by ______________ _____, 2020, the De Minimis Assets

          1
           The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of
their respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean
Foods Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade
Equity Realty, LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144);
Dairy Information Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192);
Dean East, LLC (8751); Dean Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504);
Dean Holding Company (8390); Dean Intellectual Property Services II, Inc. (3512); Dean International
Holding Company (9785); Dean Management, LLC (7782); Dean Puerto Rico Holdings, LLC (6832); Dean
Services, LLC (2168); Dean Transportation, Inc. (8896); Dean West II, LLC (9190); Dean West, LLC (8753);
DFC Aviation Services, LLC (1600); DFC Energy Partners, LLC (3889); DFC Ventures, LLC (4213); DGI
Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin Holdings, Inc. (8114); Fresh Dairy Delivery,
LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s Manufacturing and Retail, LLC (9828);
Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream Company, LLC
(0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714); Shenandoah’s
Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh Dairies,
Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan, LLC (7200). The
debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
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listed on Appendix A attached hereto will be abandoned pursuant to, among other
provisions, section 554(a) of title 11 of the United States Code, in accordance with the
Order.

                 PLEASE TAKE FURTHER NOTICE that, if an Objection is timely filed
and served in accordance with the Order, the Debtors and the objecting party will use good
faith efforts to resolve the Objection. If the Debtors and the objecting party are unable to
consensually resolve the Objection, the Debtors shall not proceed with the abandonment
of the De Minimis Assets that are the subject of the Objection pursuant to the Procedures,
but may seek Court approval of the proposed abandonment.




                       [Remainder of page intentionally left blank]




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Dated:   [        ], 2019
         Houston, Texas
                                 Respectfully submitted,
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                                 -and-

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                                 Possession




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                                           APPENDIX A

Property to be    Reason for      Gross Proceeds     Known Parties        Name and Address      Location of
 Abandoned       Abandonment       Calculation         Asserting an       of Entity to Which   Property to be
                                                   Interest in Property    Property is to be    Abandoned
                                                     Proposed to be           Abandoned
                                                       Abandoned
